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  NS/md

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 18-20707-CR-COOKE


  UNITED STATES OF AMERICA,

 vs.

  MICHAEL ELISIO PEREZ,

                 Defendant.
 - - - - - - - - - -I

                              DECLARATION OF PUBLICATION

          In accordance with 21 U.S.C. § 853(n)(l) and Rule 32.2(b)(6)(C) of the Federal Rules of

  Criminal Procedure, notice of the forfeiture was posted on an official government internet site

  (www.forfeiture.gov) for at least 30 consecutive days, beginning on August 13, 2019 and ending

  on September 11 , 2019.

                                              Respectfully submitted,

                                              ARIANA FAJARDO ORSHAN
                                              UNITED STATES ATTORNEY

                                       By:    s/ Nalina Sombuntham M
                                              Nalina Sombuntham 7
                                              Assistant United States Attorney
                                              Fla. Bar No. 96139
                                              99 N.E. 4th Street, 7th Floor
                                              Miami, Florida 33132-2111
                                              Telephone: (305) 961-9224
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on September 16, 2019, I electronically filed the foregoing

 document was with the Clerk of the Court using CM/ECF.

                                          s/ Nalina Sombuntham
                                          Nalina Sombuntham
                                          Assistant United States Attorney




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       Attachment 1


                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                 COURT CASE NUMBER: 18-CR-20707-MGC; NOTICE OF FORFEITURE

              Notice is hereby given that on May 06 , 2019 , in the case of U.S. v. Michael Elisio
       Perez, Court Case Number 18-CR-20707-MGC, the United States District Court for the
       Southern District of Florida entered an Order condemning and forfeiting the following
       property to the United States of America :

              Approximately $276 .00 in U.S. Currency (18-USS-000658) wh ich was seized from
              Michael Perez on November 16, 2017 at 8951 SW 12 Terrace, Miami , FL

              two (2) stamped Rolex watches datejust 1141mm (18-USS-000659), including the
              following items:

              1 Rolex watch Datejust II , 41 mm case silver dial with Arabic blue numbers,
              automatic movement;
              1 Rolex watch Datejust II 41 mm case blue dial with stick numbers , automatic
              movement;

              which was seized from Michael Perez on November 16, 2017 at 8951 SW 12
              Terrace, Miami , FL. ; and

              one (1) 2006 Ford F-320 crew cab vin . #1FTWW31 P16EC50512 (18-USS-000660)
              which was seized from Michael Perez on November 16, 2017 at 8951 SW 12
              Terrace, Miami , FL


               The United States hereby gives notice of its intent to dispose of the forfeited
       property in such manner as the United States Attorney General may direct. Any person,
       other than the defendant(s) in this case, claiming interest in the forfeited property must file
       an ancillary petition within 60 days of the first date of publication (August 13, 2019) of this
       Notice on this official government internet web site , pursuant to Rule 32.2 of the Federal
       Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
       filed with the Clerk of the Court, 400 North Miami Avenue, Room 8N09 , Miami , FL 33128,
       and a copy served upon Assistant United States Attorney Nalina Sombuntham , 99 N.E.
       4th Street, Miami , FL 33132. The ancillary petition shall be signed by the petitioner under
       penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or
       interest in the forfeited property, the time and circumstances of the petitioner's acquisition
       of the right, title and interest in the forfeited property and any additional facts supporting
       the petitioner's claim and the relief sought, pursuant to 21 U.S.C . § 853(n).

               Following the Court's disposition of all ancillary petitions filed , or if no such petitions
       are filed , following the expiration of the period specified above for the filing of such
       ancillary petitions, the United States shall have clear title to the property and may warrant
       good title to any subsequent purchaser or transferee.
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               The government may also consider granting petitions for remission or mitigation ,
       which pardon all or part of the property from the forfeiture. A petition must include a
       description of your interest in the property supported by documentation ; include any facts
       you believe justify the return of the property; and be signed under oath , subject to the
       penalty of perjury, or meet the requirements of an unsworn statement under penalty of
       perjury. See 28 U.S .C. Section 1746. For the regulations pertaining to remission or
       mitigation of the forfeiture , see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
       the forfeiture are found at 28 C.F.R. Section 9.5(a) . The criteria for mitigation of the
       forfeiture are found at 28 C.F.R. Section 9.5(b) . The petition for remission need not be
       made in any particular form and may be filed online or in writing . You should file a petition
       for remission not later than 11 :59 PM EST 30 days after the date of final publication of this
       notice. See 28 C.F.R. Section 9.3(a) . The https ://www.forfeiture.gov/FilingPetition.htm
       website provides access to a standard petition for remission form that may be mailed and
       the link to file a petition for remission online. If you cannot find the desired assets online ,
       you must file your petition for remission in writing by sending it to Assistant United States
       Attorney Nalina Sombuntham , 99 N.E. 4th Street, Miami , FL 33132 . This website
       provides answers to frequently asked questions (FAQs) about filing a petition for
       remission. You may file both an ancillary petition with the court and a petition for
       remission or mitigation.
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                                     Advertisement Certification Report


  The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
  between August 13, 2019 and September 11 , 2019. Below is a summary report that identifies the uptime
  for each day within the publication period and reports the results of the web monitoring system's daily
  check that verifies that the advertisement was available each day.

  U.S. v. Michael Elisio Perez

  Court Case No:                 18-C R-20707-MGC
  For Asset ID(s):               See Attached Advertisement Copy

     Consecutive          Date Advertisement          Total Hours Web Site            Verification that
     Calendar Day          Appeared on the            was Available during             Advertisement
         Count                 Web Site                   Calendar Day               existed on Web Site
           1                  08/13/2019                      24.0                           Verified
           2                  08/14/2019                      24.0                           Verified
           3                  08/15/2019                      24.0                           Verified
           4                  08/16/2019                      24.0                           Verified
           5                  08/17/2019                      24.0                           Verified
           6                  08/18/2019                      24.0                           Verified
           7                  08/19/2019                      24.0                           Verified
           8                  08/20/2019                      24.0                           Verified
           9                  08/21/2019                      24.0                           Verified
          10                  08/22/2019                      24.0                           Verified
          11                  08/23/2019                      24.0                           Verified
          12                  08/24/2019                      24.0                           Verified
          13                  08/25/2019                      24.0                           Verified
          14                  08/26/2019                      24.0                           Verified
          15                  08/27/2019                      24.0                           Verified
          16                  08/28/2019                      24.0                           Verified
          17                  08/29/2019                      24.0                           Verified
          18                  08/30/2019                      24.0                           Verified
          19                  08/31/2019                      24.0                           Verified
          20                  09/01/2019                      24.0                           Verified
          21                  09/02/2019                      24.0                           Verified
          22                  09/03/2019                      24.0                           Verified
          23                  09/04/2019                      24.0                           Verified
          24                  09/05/2019                      24.0                           Verified
          25                  09/06/2019                      24.0                           Verified
          26                  09/07/2019                      24.0                           Verified
          27                  09/08/2019                      24.0                           Verified
          28                  09/09/2019                      24.0                           Verified
          29                  09/10/2019                      24.0                           Verified
          30                  09/11/2019                      24.0                           Verified
  Additional log information is available and kept in the archives for 15 years after the asset has been disposed .
